     Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 1 of 121 Page ID #:19371




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 6
      Advisory Counsel for Defendant
 7    MICHAEL JOHN AVENATTI
 8
 9                             UNITED STATES DISTRICT COURT
10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
      UNITED STATES OF AMERICA,                    SA CR No. 19-061-JVS
12
                  Plaintiff,                       DEFENDANT’S STATUS REPORT IN
13
                         v.                        ADVANCE OF THE OCTOBER 12, 2021
14                                                 STATUS CONFERENCE
      MICHAEL JOHN AVENATTI,
15
                  Defendant.
16
17
18
19          Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”), by and through his
20    advisory counsel of record, H. Dean Steward, hereby files his Status Report in Advance
21    of the October 12, 2021 Status Conference.
22
       Dated: October 11, 2021                Respectfully submitted,
23
                                              /s/ Michael J. Avenatti
24
                                              Defendant
25                                            MICHAEL JOHN AVENATTI
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     Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 2 of 121 Page ID #:19372




 1    A.    The Prosecution’s Recent Productions and Continued Failure to Produce
 2          Required Discovery, Including Brady
 3          On September 29, 2021, the government produced 60 pages of invoices from their
 4    expert John Drum. This information was in the possession of the government well
 5    before trial - in some cases since May 2019 – and much of it contradicts Mr. Drum’s and
 6    other witness’ prior sworn testimony and claims made by the government to the jury in
 7    the last trial. It is Brady, Giglio and/or Jencks Act material (at a minimum). Defendant
 8    had repeatedly requested this information before trial and during trial and yet it was
 9    never produced before September 29, 2021. Additional invoices continue to be
10    suppressed by the prosecution.
11          Last Friday, October 8, 2021, the government produced another 446 pages of
12    materials relating to Mr. Drum, including the engagement contract, email
13    correspondence between the prosecutors and Mr. Drum and his colleagues, and draft
14    charts and exhibits prepared by Mr. Drum relating to the finances of Eagan Avenatti,
15    LLP and the client settlement accountings. Much of this information also contradicts the
16    testimony Mr. Drum and others provided at trial and certain arguments the government
17    made before the jury. Almost all of it is Brady, Giglio and Jencks Act material (at a
18    minimum) that was never previously produced despite defendant’s repeated and specific
19    demands (including during trial). This information was also in the possession of the
20    government well before trial – in some cases since February 2019.
21          The prejudice to the defendant associated with these late productions is significant
22    and their prior suppression cannot be justified.1 Further, the government still has not
23    produced all information required to be produced pursuant to Brady, Giglio, the Jencks
24    Act, and this Court’s January 25, 2021 Order, thus necessitating another motion for
25    contempt/to compel. The motion will be on file by the status conference.
26
      1
27
        The defendant is prepared to make an in camera presentation to the Court explaining
      the significance of the recently produced documents, why they are Brady/Giglio/Jencks,
28    and the prejudice that has resulted.
                                                  2
     Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 3 of 121 Page ID #:19373




 1    B.       The Status of the Remaining Files from Server 5 and Whether TIFF Files
 2             May Be Relevant
 3             The government has yet to index and search approximately 2.3 million TIFF files
 4    from server 5 from the law firm. At the last status conference, the government
 5    represented that TIFF files were “graphic files” like “pictures, photographs, or visual
 6    images,” and therefore unlikely to include relevant information and need not be indexed
 7    or reviewed. See, e.g., PRT Status Report, Dkt. 835, p. 5. The defendant disputed this
 8    claim during the conference and explained to the Court that because Eagan Avenatti was
 9    a law firm and defendant was practicing law at all relevant times, almost all of these files
10    were likely documents, not pictures. As shown below, defendant was correct.
11             The government’s claim that 2.3 million TIFF files need not be indexed or
12    reviewed because they are “graphics” and unlikely to contain relevant information is not
13    accurate and is undercut by the government’s own document production. For instance,
14    the defendant’s e-discovery vendor has informed the defendant that during discovery in
15    the years leading up to the first trial, the government produced 11,939 TIFF files to the
16    defendant as part of the government’s document production and that these files total
17    46,891 pages, with the government bates stamping each page with a different “USAO”
18    bates number.2 Unless the prosecution team was producing irrelevant information to the
19    defense, TIFF files can clearly contain relevant information.
20             In addition, certain of the government’s trial exhibits produced as TIFF files (i.e.,
21    Exhibits 274, 294, 295, 357, 365, 368, 370, 375, 390, 397, 398), together with other
22    TIFF files recently obtained from the servers, show the potential relevance of
23    information in TIFF format. See Exhibit A.
24             Even a cursory review of the documents referenced in this report demonstrates
25    why it is necessary for the defendant to have all of the TIFF files indexed so that they
26
27    2
          The defendant can provide each of the pages to the Court if requested to do so.
28
                                                      3
     Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 4 of 121 Page ID #:19374




 1    may be reviewed for relevant information and/or information required to be produced
 2    pursuant to Rule 16, Brady, Giglio, and the Court’s January 25, 2021 Order. The
 3    defendant agrees with the Court that not all of the files and documents from the servers
 4    are relevant to the claims and defenses in this case. However, in order to locate and
 5    determine what is relevant, defendant must be provided ample opportunity to review the
 6    data. This is especially true because it is now apparent that a proper review was never
 7    previously done by the government.
 8          Accordingly, the defense requests that they be given 120 days to (i) utilize their
 9    own indexing tools to index the remaining files3 from their forensic copies of the servers
10    and (ii) complete their review of all of the indexed files from all of the servers for
11    relevant and Brady materials.
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26      Concerned about how long it is taking the government to index the remaining files, and
      recognizing the critical need for indexed files, the defense started its own indexing
27    process approximately 14 days ago. That process continues as of this filing.
28
                                                    4
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 5 of 121 Page ID #:19375




                       Exhibit A
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 6 of 121 Page ID #:19376




                                   Exhibit 274
                                  Page 1 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 7 of 121 Page ID #:19377




                                   Exhibit 274
                                  Page 2 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 8 of 121 Page ID #:19378




                                   Exhibit 274
                                  Page 3 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 9 of 121 Page ID #:19379




                                   Exhibit 274
                                  Page 4 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 10 of 121 Page ID #:19380




                                    Exhibit 274
                                   Page 5 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 11 of 121 Page ID #:19381




                                    Exhibit 274
                                   Page 6 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 12 of 121 Page ID #:19382




                                    Exhibit 274
                                   Page 7 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 13 of 121 Page ID #:19383




                                    Exhibit 274
                                   Page 8 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 14 of 121 Page ID #:19384




                                    Exhibit 274
                                   Page 9 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 15 of 121 Page ID #:19385




                                   Exhibit 274
                                  Page 10 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 16 of 121 Page ID #:19386




                                   Exhibit 274
                                  Page 11 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 17 of 121 Page ID #:19387




                                   Exhibit 274
                                  Page 12 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 18 of 121 Page ID #:19388




                                   Exhibit 274
                                  Page 13 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 19 of 121 Page ID #:19389




                                   Exhibit 274
                                  Page 14 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 20 of 121 Page ID #:19390




                                   Exhibit 274
                                  Page 15 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 21 of 121 Page ID #:19391




                                   Exhibit 274
                                  Page 16 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 22 of 121 Page ID #:19392




                                   Exhibit 274
                                  Page 17 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 23 of 121 Page ID #:19393




                                   Exhibit 274
                                  Page 18 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 24 of 121 Page ID #:19394




                                   Exhibit 274
                                  Page 19 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 25 of 121 Page ID #:19395




                                   Exhibit 274
                                  Page 20 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 26 of 121 Page ID #:19396




                                   Exhibit 274
                                  Page 21 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 27 of 121 Page ID #:19397




                                   Exhibit 274
                                  Page 22 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 28 of 121 Page ID #:19398




                                   Exhibit 274
                                  Page 23 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 29 of 121 Page ID #:19399




                                   Exhibit 274
                                  Page 24 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 30 of 121 Page ID #:19400




                                   Exhibit 274
                                  Page 25 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 31 of 121 Page ID #:19401




                                   Exhibit 274
                                  Page 26 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 32 of 121 Page ID #:19402




                                   Exhibit 274
                                  Page 27 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 33 of 121 Page ID #:19403




                                   Exhibit 274
                                  Page 28 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 34 of 121 Page ID #:19404




                                   Exhibit 274
                                  Page 29 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 35 of 121 Page ID #:19405




                                   Exhibit 274
                                  Page 30 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 36 of 121 Page ID #:19406




                                   Exhibit 274
                                  Page 31 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 37 of 121 Page ID #:19407




                                   Exhibit 274
                                  Page 32 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 38 of 121 Page ID #:19408




                                   Exhibit 274
                                  Page 33 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 39 of 121 Page ID #:19409




                                   Exhibit 274
                                  Page 34 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 40 of 121 Page ID #:19410




                                   Exhibit 274
                                  Page 35 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 41 of 121 Page ID #:19411




                                   Exhibit 274
                                  Page 36 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 42 of 121 Page ID #:19412




                                   Exhibit 274
                                  Page 37 of 37
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 43 of 121 Page ID #:19413




                                   Exhibit 294
                                   Page 1 of 3
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 44 of 121 Page ID #:19414




                                   Exhibit 294
                                   Page 2 of 3
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 45 of 121 Page ID #:19415




                                   Exhibit 294
                                   Page 3 of 3
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 46 of 121 Page ID #:19416




                                   Exhibit 295
                                   Page 1 of 5
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 47 of 121 Page ID #:19417




                                   Exhibit 295
                                   Page 2 of 5
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 48 of 121 Page ID #:19418




                                   Exhibit 295
                                   Page 3 of 5
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 49 of 121 Page ID #:19419




                                   Exhibit 295
                                   Page 4 of 5
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 50 of 121 Page ID #:19420




                                   Exhibit 295
                                   Page 5 of 5
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 51 of 121 Page ID #:19421




                                   Exhibit 357
                                   Page 1 of 2
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 52 of 121 Page ID #:19422




                                   Exhibit 357
                                   Page 2 of 2
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 53 of 121 Page ID #:19423




                                   Exhibit 365
                                   Page 1 of 4
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 54 of 121 Page ID #:19424




                                   Exhibit 365
                                   Page 2 of 4
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 55 of 121 Page ID #:19425




                                   Exhibit 365
                                   Page 3 of 4
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 56 of 121 Page ID #:19426




                                   Exhibit 365
                                   Page 4 of 4
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 57 of 121 Page ID #:19427




                                    Exhibit 368
                                   Page 1 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 58 of 121 Page ID #:19428




                                    Exhibit 368
                                   Page 2 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 59 of 121 Page ID #:19429




                                    Exhibit 368
                                   Page 3 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 60 of 121 Page ID #:19430




                                    Exhibit 368
                                   Page 4 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 61 of 121 Page ID #:19431




                                    Exhibit 368
                                   Page 5 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 62 of 121 Page ID #:19432




                                    Exhibit 368
                                   Page 6 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 63 of 121 Page ID #:19433




                                    Exhibit 368
                                   Page 7 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 64 of 121 Page ID #:19434




                                    Exhibit 368
                                   Page 8 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 65 of 121 Page ID #:19435




                                    Exhibit 368
                                   Page 9 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 66 of 121 Page ID #:19436




                                   Exhibit 368
                                  Page 10 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 67 of 121 Page ID #:19437




                                   Exhibit 368
                                  Page 11 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 68 of 121 Page ID #:19438




                                   Exhibit 368
                                  Page 12 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 69 of 121 Page ID #:19439




                                   Exhibit 368
                                  Page 13 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 70 of 121 Page ID #:19440




                                   Exhibit 368
                                  Page 14 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 71 of 121 Page ID #:19441




                                   Exhibit 368
                                  Page 15 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 72 of 121 Page ID #:19442




                                   Exhibit 368
                                  Page 16 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 73 of 121 Page ID #:19443




                                   Exhibit 368
                                  Page 17 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 74 of 121 Page ID #:19444




                                   Exhibit 368
                                  Page 18 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 75 of 121 Page ID #:19445




                                   Exhibit 368
                                  Page 19 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 76 of 121 Page ID #:19446




                                   Exhibit 368
                                  Page 20 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 77 of 121 Page ID #:19447




                                   Exhibit 368
                                  Page 21 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 78 of 121 Page ID #:19448




                                   Exhibit 368
                                  Page 22 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 79 of 121 Page ID #:19449




                                   Exhibit 368
                                  Page 23 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 80 of 121 Page ID #:19450




                                   Exhibit 368
                                  Page 24 of 24
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 81 of 121 Page ID #:19451




                                    Exhibit 370
                                   Page 1 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 82 of 121 Page ID #:19452




                                    Exhibit 370
                                   Page 2 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 83 of 121 Page ID #:19453




                                    Exhibit 370
                                   Page 3 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 84 of 121 Page ID #:19454




                                    Exhibit 370
                                   Page 4 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 85 of 121 Page ID #:19455




                                    Exhibit 370
                                   Page 5 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 86 of 121 Page ID #:19456




                                    Exhibit 370
                                   Page 6 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 87 of 121 Page ID #:19457




                                    Exhibit 370
                                   Page 7 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 88 of 121 Page ID #:19458




                                    Exhibit 370
                                   Page 8 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 89 of 121 Page ID #:19459




                                    Exhibit 370
                                   Page 9 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 90 of 121 Page ID #:19460




                                   Exhibit 370
                                  Page 10 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 91 of 121 Page ID #:19461




                                   Exhibit 370
                                  Page 11 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 92 of 121 Page ID #:19462




                                   Exhibit 370
                                  Page 12 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 93 of 121 Page ID #:19463




                                   Exhibit 370
                                  Page 13 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 94 of 121 Page ID #:19464




                                   Exhibit 370
                                  Page 14 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 95 of 121 Page ID #:19465




                                   Exhibit 370
                                  Page 15 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 96 of 121 Page ID #:19466




                                   Exhibit 370
                                  Page 16 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 97 of 121 Page ID #:19467




                                   Exhibit 370
                                  Page 17 of 17
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 98 of 121 Page ID #:19468




                                   Exhibit 375
                                   Page 1 of 6
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 99 of 121 Page ID #:19469




                                   Exhibit 375
                                   Page 2 of 6
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 100 of 121 Page ID #:19470




                                    Exhibit 375
                                    Page 3 of 6
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 101 of 121 Page ID #:19471




                                    Exhibit 375
                                    Page 4 of 6
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 102 of 121 Page ID #:19472




                                    Exhibit 375
                                    Page 5 of 6
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 103 of 121 Page ID #:19473




                                    Exhibit 375
                                    Page 6 of 6
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 104 of 121 Page ID #:19474




                                    Exhibit 390
                                    Page 1 of 2
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 105 of 121 Page ID #:19475




                                    Exhibit 390
                                    Page 2 of 2
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 106 of 121 Page ID #:19476




                                    Exhibit 397
                                    Page 1 of 4
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 107 of 121 Page ID #:19477




                                    Exhibit 397
                                    Page 2 of 4
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 108 of 121 Page ID #:19478




                                    Exhibit 397
                                    Page 3 of 4
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 109 of 121 Page ID #:19479




                                    Exhibit 397
                                    Page 4 of 4
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 110 of 121 Page ID #:19480




                                    Exhibit 398
                                    Page 1 of 4
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 111 of 121 Page ID #:19481




                                    Exhibit 398
                                    Page 2 of 4
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 112 of 121 Page ID #:19482




                                    Exhibit 398
                                    Page 3 of 4
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 113 of 121 Page ID #:19483




                                    Exhibit 398
                                    Page 4 of 4
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 114 of 121 Page ID #:19484
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 115 of 121 Page ID #:19485
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 116 of 121 Page ID #:19486
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 117 of 121 Page ID #:19487
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 118 of 121 Page ID #:19488
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 119 of 121 Page ID #:19489
Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 120 of 121 Page ID #:19490
 Case 8:19-cr-00061-JVS Document 850 Filed 10/11/21 Page 121 of 121 Page ID #:19491




 1

 2
                                  CERTIFICATE OF SERVICE

 3         I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 4
     age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California.
 5
 6   I am not a party to the above-entitled action. I have caused, on October 11, 2021, service

 7   of the:
 8
       DEFENDANT’S STATUS REPORT IN ADVANCE OF THE OCTOBER 12, 2021
 9                         STATUS CONFERENCE
10
     on the following party, using the Court’s ECF system:
11
     AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
12
13   I declare under penalty of perjury that the foregoing is true and correct.
14
     Executed on October 11, 2021
15
16                                           /s/ H. Dean Steward
17                                           H. Dean Steward
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